                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

TERRY LYNN KING,                                     )
                                                     )
       Plaintiff,                                    )       CAPITAL CASE
                                                     )
v.                                                   )       Case No. 3:18-cv-01234
                                                     )
FRANK STRADA, et al.,                                )       JUDGE TRAUGER
                                                     )
       Defendants.                                   )


DONALD MIDDLEBROOKS,                                 )
                                                     )
       Plaintiff,                                    )       CAPITAL CASE
                                                     )
v.                                                   )       Case No. 3:19-cv-01139
                                                     )
FRANK STRADA, et al.,                                )       JUDGE CRENSHAW
                                                     )
       Defendants.                                   )


                                   JOINT STATUS REPORT


       Pursuant to an agreement of the parties (King Dkt. 219-3; Middlebrooks Dkt. 59-3) and the

orders of the Court (King Dkt. 227; Middlebrooks Dkt. 78), these cases have remained stayed

pending the completion of corrective actions to comply with the recommendations in the Report

and Findings of the Tennessee Lethal Injection Protocol Investigation and Governor Lee’s

Directives (King Dkt. 229-1, 229-2; Middlebrooks Dkt. 81-1, 81-2).

       On January 8, 2025, the Commissioner signed a new lethal injection protocol. The parties’

agreement provides that Defendants will not object to Plaintiffs King or Middlebrooks “amending

his complaint one time within ninety (90) days of . . . adoption [of a new protocol] to address such




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a[n] adoption in one count asserting a facial challenge to the . . . new protocol.” Dkt. 219-3, at 3,

¶ 1.

       On February 6, 2025, counsel for both Plaintiffs King and Middlebrooks met in-person

with counsel for Defendants to discuss preliminary matters related to moving forward with these

cases, including: anticipated amendments by Plaintiffs, agreed entry of a preliminary protective

order to facilitate the exchange of confidential information before amendment, general approaches

to case management, and matters left unresolved before entry of the stay. Discussion of those and

other matters are continuing in good faith efforts to reach agreements for submission to the Court.

At this time, the parties are not prepared for a status conference with the Court, but they will

request one if necessary after further discussion.

       Given the ongoing work between counsel, Defendants ask that they be relieved of the

obligation to file a status update every 90 days. King Dkt. 227; Middlebrooks Dkt. 78.

                                                              Respectfully submitted,

                                                              JONATHAN SKRMETTI
                                                              Attorney General and Reporter

                                                              /s/ Cody N. Brandon
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                              CERTIFICATE OF SERVICE
       I certify that on the 12th day of February, 2025, a copy of the foregoing was filed and

served via the Court’s CM/ECF system on the following counsel for Middlebrooks:

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